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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



 FEDERAL BUREAU OF INVESTIGATION
 AGENTS ASSOCIATION et al.

                       Plaintiffs,                   Case Nos. 25-0328-JMC (Lead Case) &
                                                     25-325-JMC (Consolidated cases)
                       v.
 U.S. DEPARTMENT OF JUSTICE et al.

                       Defendants.
                  NOTICE OF WITHDRAWAL OF JOHN DOE #2

   NOW COMES the Plaintiff John Doe #2 (for purposes of Civil Action No. 25-328,

which is now consolidated with Civil Action No. 25-325 and also has a Plaintiff with the

same identifier), by and through their undersigned counsel, to respectfully notice

pursuant to Federal Rules of Civil Procedure Rule 41(a)(1)(A)(i) his voluntarily dismissal

without prejudice of his claims against the Defendants.

Date: February 23, 2025

                                             Respectfully submitted,

                                             s/ Mark S. Zaid
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